Case 3:18-cv-00428-DMS-AHG Document 294-2 Filed 11/02/18 PageID.4691 Page 1 of 4




                            EXHIBIT 1




                                                                          Exhibit 1
                                                                           Page 11
         Case 3:18-cv-00428-DMS-AHG Document 294-2 Filed 11/02/18 PageID.4692 Page 2 of 4
                        U.S. Tm migration                                                  Enforcement and Removal Operations
                                                                                           El Paso Processing Center
                        and Customs                                                        8915 Montana Ave.
                        Enforcement                                                        El Paso, TX 79925




           Staff Member/Officer's Na.me:                                        Date:
          Nombre de el Oficial:                                                 Fecha:
             \
                                                                                Alien Number (A#):
           Nombre de el Detenido:                                               Numero de Extranjero (A#):




             YY\\
                 es


                                                                                                                                -       7
           ·To 7Y ·              <1 /;)'               por fg J::-:i Dr              y. c: u n c; fY) e            en c2 l"'\   M 1         \"   r~) <!J
             Q YO n
            (/
                         JO.                         G·,°'C't u ,s
           If more space is needed to Cflmplete your request, please use the reverse side of this form. All requests will be
           addressed by priorlty.
           Si es necesario mas espacio para completar su petici6n, por favor use el lado reverso de esta Jonna. Todas las
           peticiones serim dirigidas par prioridad.

   +--                                                                                                                              ·-----•

           Staff Comments (Comenta:rios del Person~V:                                                                               ~

                 \_~>,                 J.,.Jl$k~· . ~                                   ~ \);~


           ___________ w
                                                                                                               =======O=.2': l rs!:~~.;: ,~·
     --:P.:R:0.EERTY::..O.EEIGER:!::B..ate.:rec.eiY.ed:-- ··-···----·-·- --··-·---····--·· · -Bate::filed:·-=:;-                                           =(_::::r:=-:.:.:.···-=-



----==--=-----~E::!:!P~_~~-P~B~~..l.:!      __ Ol.,t;9~4-_-_---::-:----=========·=----=·-=---=-=--=-=-======R~B:Ll0Jl5======::-:::
                                ___ ~S:!-.:_O~                                                                         Exhibit 1
                                                                                                                                                   Page 12
Case 3:18-cv-00428-DMS-AHG Document 294-2 Filed 11/02/18 PageID.4693 Page 3 of 4




    REQUEST: Mr. Vasquez the reason for writing to you is to know when my reunification with my son
    will be done. It is now 4 months that we have been separated. It is the first time that I have entered
    this country. I want to be with my son he needs me. I hope that you will answer me with the reason
    that I have been here for so long. Please reunite me with my son soon. Thanks.




                                                                                         [signature]




                                                                                                       Exhibit 1
                                                                                                        Page 13
    Case 3:18-cv-00428-DMS-AHG Document 294-2 Filed 11/02/18 PageID.4694 Page 4 of 4




   •
TRANSPERFECT

                  City of New York, State of New York, County of New York




                  I, Anders Ekholm, hereby certify that the document, "Detainee Request to Staff
                  Member, Vasquez from M                                                       D       L      , September 2, 2018" is, to the best
                  of my knowledge and belief, a true and accurate translation from Spanish into English.




                  Anders Ekholm



                 Sworn to before me this
                 November 2, 2018




                                       \\\I1111 1111/JIJJ
                                ,,,''\~oY Po                11
                                                              1, 1,,.
                              ,,' ..l..~,.•o'' f 'j,.'i;•,.OA.~
                         ,,' '-\-... ~              ,., Y •.;v          ~

                      ~
                       .::,       .·              ·.
                                :°NO. 01 P06356754-._
                                                                         ~
                                                                         ~
                  :            :' QUALIFIED IN ~
                                               :
                               : QUEENS COUNTY :
                                               ::
                  ~  :. COMM. EXP. _: ~
                  ~ IP··.     04•03-2021 :·~ f
                   ~ ;>-'· •• p       C, ...-~
                          ",, --,.,._·... UB\.\ ,.·-10 -~
                                                                        s
                              "11, , /    otNi~ ~,,,,,
                                       IJJ I II JI 1111 \\\\\\


                 Stamp, Notary Public




                              LANGUAGE AND TECHNOLOGY SOLUTIONS FOR GLOBAL BUSINESS
    THREE PARK AVENUE, 39TH FLOOR, NEW YORK, NY 10016 I T 212.689.5555 I F 212.689.1059 I WWW.TRANSPERFECT.COM
                                                                             OFFICES IN 90 CITIES WORLDWIDE                                 Exhibit 1
                                                                                                                                             Page 14
